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      Joseph R. Manning, Jr. (SBN 223381)
  1   DisabilityRights@manninglawoffice.com
  2   MANNING LAW, APC
      20062 SW Birch Street
  3   Newport Beach, CA 92660
      Tel: 949.200.8755
  4   Fax: 866.843.8308

  5   Attorneys for Plaintiff
      JAMES RUTHERFORD
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  7
                            UNITED STATES DISTRICT COURT
  8
                           CENTRAL DISTRICT OF CALIFORNIA
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10
           JAMES RUTHERFORD, an             Case No.: 8:20-cv-02202-JLS-ADS
11         individual,
12                                          Hon. Josephine L. Staton
           Plaintiff,
13                                          NOTICE OF VOLUNTARY
14         v.                               DISMISSAL WITH PREJUDICE
                                            PURSUANT TO FEDERAL RULE OF
15         TUSTIN MELK LLC, a               CIVIL PROCEDURE 41(a)(1)(A)(i)
16         California limited liability
           company; and DOES 1-10,          Complaint Filed: November 17, 2020
17         inclusive,                       Trial Date: None
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           Defendants.
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                        NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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  1         TO THE COURT AND ALL PARTIES:
  2         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
  3   Plaintiff James Rutherford (“Plaintiff”) requests that this Court enter a dismissal
  4   with prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety.
  5   Each party shall bear his or its own costs and attorneys’ expenses.
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  7                                          Respectfully submitted,
  8
  9    DATED: March 2, 2021                  MANNING LAW, APC

10                                           By: /s/ Joseph R. Manning, Jr.
                                               Joseph R. Manning, Jr.
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                                               Attorney for Plaintiff
12                                             James Rutherford
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                     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
